Case 3:12-cv-02039-FAB Document 1554-13 Filed 07/09/20 Page 1 of 2

CA CORREA ACEVEDO & ABESADA LAW OFFICES, PSC
A Centro Internacional de Mercadeo - ||
90 Carr. 165 Suite 407
SanEEO Osean = Seenee Guaynabo, PRI 00968
USA
July 1, 2020

Invoice # 15800

United States v. Commonwealth of Puerto Rico
Police Reform, Case No. 12-2039 (GAG)

Professional Services

6/18/2020 RAA

RAA

RAA

6/19/2020 RAA

RAA

RAA

6/23/2020 RAA

RAA

RAA

RAA

Review email from L. Saucedo scheduling conference call.
Telephone call from J. Romero.

Telephone conference from L. Saucedo and his team and J. Romero.
Review email from L. Saucedo for monthly meeting.

Review response from J. Romero to L. Saucedo.

Email to J. Romero regarding monthly conference call.

Review motion for order to unseal documents.

Review order granting motion.

Review docket entries related to unsealed documents.

Review and analyze latest assessment report prepared by federal monitor.

—Hrs/Rate

0.10
175.00/hr

0.20
175.00/hr

0.70
175.00/hr

0.10
175.00/hr

0.10
175.00/hr

0.10
175.00/hr

0.10
175.00/hr

0.10
175.00/hr

0.30
175.00/hr

0.70
175.00/hr

Amount

17.50

35.00

122.50

17.50

17.50

17.50

17.50

17.50

52.50

122.50

787-273-8300
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Police Reform, Case No. 12-2039 (GAG)

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—Hrs/Rate _ Amount
6/25/2020 RAA Review Commonwealth's motion submitting bi-annual status report. 0.10 17.50
175.00/hr
RAA — Electronic communications with J. Romero. 0.10 17.50
175.00/hr
RAA Review emails from L. Saucedo and A. Garcia regarding conference call 0.20 35.00
and email to J. Romero regarding the same. Review J. Romero's email 175.00/hr
confirming call.
RAA _ Telephone call from J. Romero. 0.20 35.00
175.00/hr
6/27/2020 RAA Telephone call from J. Romero. 0.10 17.50
175.00/hr
6/29/2020 RAA Review email from L. Saucedo re: vetting process completed with no 0.10 17.50
objections. 175.00/hr
6/30/2020 RAA Review order noting and approving invoice of Del Carmen Consulting. 0.10 17.50
175.00/hr
RAA Review motion to deposit funds filed by Commonwealth. 0.10 17.50
175.00/hr
RAA Review order regarding motion to deposit funds. 0.10 17.50
175.00/hr
RAA _ Telephone call from J. Romero. 0.10 17.50
175.00/hr
For professional services rendered 3.70 $647.50
Balance due $647.50
Timekeeper Summary
Name Hours Rate Amount
Roberto Abesada Agiet 3.70 175.00 $647.50

WE HEREBY CERTIFY THAT THE AMOUNT BILLED IN THIS INVOICE IS TRUE AND CORRECT IN OUR
CAPACITY AS THE FIRM SERVING AS GENERAL COUNSEL OF THE FEDERAL MONITOR’S OFFICE. WE
FURTHER CERTIFY THAT WE HAVE NOT RECEIVED ANY INCOME, COMPENSATION, OR PAYMENT

FOR SERVICES RENDERED UNDER A REGULAR EMPLOYMENT OR CONTRACTUAL RELATIONSHIP

WITH THE COMMONWEALTH OF PUERTO RIC

AGENCIES.

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O, OR ANY OF ITS DEPARTMENTS, MUNICIPALITIES OR
